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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  JAMES M. MALONEY,
                                                                                            03-cv-786 (PKC) (AYS)
                                Plaintiff,
                                                                                                PLAINTIFF’S
                     - against -                                                             MEMORANDUM IN
                                                                                               ADVANCE OF
  MADELINE SINGAS,                                                                            THE RE-OPENED
                                                                                               BENCH TRIAL
                             Defendant.
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                                          Preliminary Statement

         This memorandum is submitted in advance of the re-opened bench trial scheduled to
  begin on June 4, 2018. This memorandum follows Plaintiff’s Proposed Findings of Fact and
  Conclusions of Law submitted as such (i.e., as numbered paragraphs drafted in a form that the
  Court could adopt or modify) on March 2, 2017 (ECF Doc. No. 184), following the initial (and at
  the time assumed to be definitive) bench trial held between January 9 and 12, 2017.

          It is recognized that the Court’s Individual Rules at Part 4(B) contemplate Proposed
  Findings of Fact and Conclusions of Law being submitted in advance of trial. However, rather
  than repeat the form previously provided, Plaintiff will provide persuasive argument here.

                                                Introduction

          Since 1974, New York has banned the possession, even in one’s home, of nunchaku or
  nunchucks,1 a martial arts weapon consisting of two sticks connected by a cord or chain. Under
  New York law, possession of nunchucks constitutes a Class A misdemeanor. See N.Y. Penal
  Law § 265.01 (“A person is guilty of criminal possession of a weapon in the fourth degree when:
  (1) He or she possesses any . . . chuka stick . . . .”); id. at § 265.00(14) (defining “chuka stick,” a
  term that includes nunchaku). Plaintiff filed this action in 2003, seeking a declaration that New
  York’s ban on the simple possession of nunchucks in one’s home is unconstitutional. Although
  the Honorable Arthur D. Spatt dismissed Plaintiff’s constitutional claims in 2007, which
  dismissal was affirmed by the Second Circuit on appeal in 2009 (Maloney v. Cuomo, 554 F.3d 56
  (2d Cir. 2009)), the United States Supreme Court in 2010 vacated the judgment and remanded
  the case for further consideration in light of its decision in McDonald v. City of Chicago, 561
  U.S. 742 (2010), which had held that the Second Amendment is applicable as against the states.
  See Maloney v. Rice, 561 U.S. 1040 (2010). On remand, this Court denied cross-motions for
  summary judgment, see Maloney v. Singas, 106 F. Supp. 3d 300 (2015), finding that there were
  disputed issues of material fact that must first be resolved by means of a trial.

          At the time this Court handed down the foregoing Opinion, the Second Circuit had not
  yet decided New York State Rifle & Pistol Ass’n, Inc. v. Cuomo (“NYSRPA”), 804 F.3d 242, 254
  (2d Cir. 2015), and this Court, in its pre-NYSRPA Opinion, framed the factual issue related to the


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            In its Memorandum & Opinion in this matter dated May 22, 2015, Maloney v. Singas, 106 F.
  Supp. 3d 300 (2015), the Court referred to “chuka sticks” and “nunchakus” interchangeably. See id. at
  footnote 1. “Chuka stick,” however, is statutorily defined as “any device designed primarily as a
  weapon, consisting of two or more lengths of a rigid material joined together by a thong, rope or chain in
  such a manner as to allow free movement of a portion of the device while held in the hand and capable of
  being rotated in such a manner as to inflict serious injury upon a person by striking or choking. These
  devices are also known as nunchakus and centrifugal force sticks.” N.Y. Penal Law § 265.00(14)
  (emphasis added). All the testimony and exhibits at trial relating to the weapon in question described a
  weapon consisting of two (but not more) sticks so connected. Since New York’s statutory definition of
  “chuka stick” is broader, encompassing weapons that may consist of more than two sticks, the term
  “nunchaku” (or its common English-language variant “nunchucks”) is a better term than “chuka sticks”
  for describing the specific weapon for which Plaintiff seeks Second Amendment protection.
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  question of whether the nunchaku is a protected arm as follows: “the weapon at issue must be ‘in
  common use’ and its common use must be a lawful one.” 106 F. Supp. 3d at 310 (emphasis in
  original). However, in NYSRPA, the Second Circuit framed the comparable inquiry as whether
  the weapon at issue is “(1) ‘in common use’ and (2) ‘typically possessed by law-abiding citizens
  for lawful purposes.’” Memorandum and Order of July 23, 2017 (ECF Doc. No. 184), at 3
  (quoting NYSRPA, 804 F.3d at 254-255). This Court, in that subsequent Memorandum and
  Order, found that, “[while the specific language used by this Court to articulate the threshold
  question is somewhat different from the test articulated by the Second Circuit in NYSRPA, the
  Court finds the difference is not substantive. Nonetheless, going forward, the parties should use
  the precise legal framework and terminology used by the Second Circuit in NYSRPA.” Id. at 3
  n.2.

          Importantly, this Court in that subsequent Memorandum and Order also found that (as
  stated by the Supreme Court in Heller2 and restated both by the Supreme Court in Caetano3 and
  the Second Circuit in NYSRPA) a presumption in favor of Second Amendment protection
  applies, with the defendant having the initial burden of rebutting that presumption rather than the
  plaintiff having the initial burden of establishing Second Amendment protection. This Court
  wrote: “Thus, in keeping with the Second Circuit’s reading of Heller, a presumption in favor of
  Second Amendment protection applies, and the government, i.e., Nassau County, has the burden
  of producing evidence that nunchakus are not ‘in common use’ or not ‘typically possessed by
  law-abiding citizens for lawful purposes.’” Id. at 4 (citing NYSRPA, 804 F.3d at 257 n.73; Fed.
  R. Evid. 301). As a consequence of this finding, the trial was continued in order to afford Nassau
  County the opportunity to offer additional evidence to rebut the presumption in favor of Second
  Amendment protection.

           This memorandum will very briefly address the legal framework and public-policy
  implications of the evolving and still-nascent jurisprudence of the Second Amendment, including
  the initial presumption burden-shifting considerations that, absent further refinement, appear to
  be somewhat illogical and impracticable, and will reserve arguments relating to Nassau County’s
  new evidence and to the appropriate level of scrutiny to be applied to the nunchaku ban in the
  home (if indeed the nunchaku is a protected arm) for post-trial briefing.




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              554 U.S. 570 (2008).
          3
            Caetano v. Massachusetts, 577 U.S. ___ (2016), No. 14-10078. Plaintiff wrote to the Court in
  the wake of Caetano “not to argue that this court should shift the burden to the defendant to show that
  nunchaku are not covered arms, but to argue that, in the wake of Caetano, and weighing the equities in
  the interest of justice, it should permit an additional summary judgment motion . . .” Letter of April 8,
  2016 (ECF Doc. No. 163).
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  I. The Burden of Proof on Weapon Eligibility for Second Amendment Protection

         The practical problem of requiring a government defendant in a Second Amendment
  challenge to show as an initial matter that a given weapon is not in common use and typically
  possessed by law-abiding citizens for lawful purposes is, simply put, the problem of proving a
  negative. To use an appropriate metaphor, it is difficult to prove that there is no such thing as a
  white crow.

          However, in the evolving jurisprudence of the Second Amendment, there appears to be a
  correlation (albeit one yet to be fully developed and articulated) between the above “negative”
  proof and the comparable standard of whether the attributes of the weapon in question would
  make it “dangerous and unusual,” another basis for denying the weapon any Second Amendment
  protection. See Heller, 554 U.S. at 627 (“We also recognize another important limitation on the
  right to keep and carry arms. [United States v. Miller, 307 U.S. 174 (1939)] said, as we have
  explained, that the sorts of weapons protected were those ‘in common use at the time.’ . . . We
  think that limitation is fairly supported by the historical tradition of prohibiting the carrying of
  ‘dangerous and unusual weapons.’”) (citations omitted).

           It follows that, under Heller, there should be little if any overlap as between weapons
  falling into one or the other of the two categories (“dangerous and unusual,” Heller, 554 U.S. at
  627, on the one hand, as over against “typically possessed by law-abiding citizens for lawful
  purposes,” Heller, 554 U.S. at 625 (quoting Miller), on the other). Put another way, “dangerous
  and unusual” weapons would be precisely those sorts of weapons that are not “typically
  possessed by law-abiding citizens for lawful purposes.”

           Although Plaintiff has previously argued, see Plaintiff’s Memorandum of Law (ECF
  Document 132, filed March 20, 2014), at 8 (pdf page 10 of 23). that since he has not challenged
  New York’s prohibition on carrying nunchaku, and since Heller references the “historical
  tradition of prohibiting the carrying of ‘dangerous and unusual weapons,” 554 U.S. at 627
  (emphasis added) the question of whether the nunchaku may be a “dangerous and unusual
  weapon” should not be before this Court at all. But Plaintiff now formally abandons4 that earlier
  argument for two reasons: (1) because, under Heller, the two categories of weapons (“dangerous
  and unusual” versus “typically possessed by law-abiding citizens for lawful purposes”) appear to
  be essentially mutually exclusive, such that a finding that a weapon falls into one category is
  tantamount to a finding that it does not fall into the other, the short-barreled shotgun being the
  paradigmatic example, derived from both Miller and Heller, of a dangerous and unusual weapon
  that is not typically possessed by law-abiding citizens for lawful purposes; and (2) because
  Heller, on closer reading, can be seen to have specifically noted that the “dangerous and unusual”
  rubric was “an important limitation on the right to keep and carry arms,” 554 U.S. at 627
  (emphasis added).

          It seems logical, therefore, to interpret the burden of rebutting the presumption in favor of


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           This change is not entirely new here. See Plaintiff’s Proposed Findings of Fact and
  Conclusions of Law (ECF Doc. No. 184) at ¶ 46.
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  Second Amendment protection for a given weapon as the practical equivalent of a burden of
  showing that the weapon is “dangerous and unusual.” Admittedly, no Supreme Court case yet
  decided holds as much, but the Second Circuit has clearly indicated that such an approach has
  merit. In NYSRPA, in an important footnote relating to the State’s failure to make any argument
  that the Remington Tactical 7615, a pump-action rifle (i.e., not a semiautomatic) was “dangerous
  and unusual,” the Court wrote:

         Because the State, [which was] focused on semiautomatic weapons . . . has failed
         to make any argument that this pump-action rifle is dangerous, unusual, or
         otherwise not within the ambit of Second Amendment protection, the presumption
         that the Amendment applies remains unrebutted.

  NYSRPA, footnote 73. Indeed, that footnote was like a small kernel containing the most
  important of the NYSRPA Court’s holdings relating to this issue, whereas much else in the
  NYSRPA Opinion about presumptions was arguably dicta. The footnote began: “Though we
  assume without deciding that the bulk of the challenged legislation is entitled to Second
  Amendment protection, we decide as much with respect to Connecticut’s prohibition of the
  Remington Tactical 7615, a non-semiautomatic pump-action rifle.” Id. (emphasis in original).

         Although conceivably a given weapon may not be “dangerous and unusual” yet may
  nonetheless not be “commonly used for lawful purposes” to the degree needed to merit Second
  Amendment protection, no such case has yet arisen. Perhaps the more likely event would be the
  converse, that weapons now in common use, like semiautomatic firearms, may conceivably be
  found to be “dangerous and unusual.”

         This possibility is inextricably intertwined with public-policy considerations.


  II. Public-Policy Considerations

         We live in an era in American history in which mass shootings with semiautomatic
  weapons, wherein multiple innocent victims are killed in each such incident, have become
  commonplace. It is impossible to consider the implications of Second Amendment jurisprudence
  without considering that horrific problem.

          Banning all possession of semiautomatic weapons has been proposed. In order to do so
  constitutionally, that class of weapons must be determined to be “dangerous and unusual” even
  though they are now “commonly used for lawful purposes.” As the precise attributes of the
  “dangerous and unusual” rubric remains to be fleshed out by the courts, it is indeed possible that a
  jurisprudence could emerge that would recognize the “dangerous and unusual” characteristic to be
  one related to the capability for achieving mass homicides, and that semiautomatic weapons could
  be found to be “dangerous and unusual” by a majority of the Supreme Court.

         But it is beyond dispute that nunchucks do not fall into that category, at least if the
  category is based on the capability for achieving mass homicides.
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           Yet the interplay among the branches of government is such that in order to gain the
  popular support needed to enact a ban on all possession of semiautomatic weapons, Congress
  would need assurances that the “dangerous and unusual” rubric applied to semiautomatic weapons
  would not eventually be extended to all (or virtually all ) firearms. Without such assurances the
  legislation would likely fail. And such limits could proceed only from a robust and well-
  developed Second Amendment jurisprudence that, once so evolved, would not only act as a
  bulwark against overbroad complete weapons bans but, more importantly for present purposes, as
  a catalyst that would actually (by providing limits) facilitate reasonable weapons bans.

         Holding that the nunchaku is a “dangerous and unusual” weapon would be antithetical to
  such a progressive and sensible jurisprudence, and therefore counterproductive to any hope of
  bringing to a close this current era in which mass shootings with semiautomatic weapons have
  become commonplace.

                                                     Respectfully submitted,

                                                     /s James M. Maloney
